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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                 4:16CR3082
       vs.
                                                                   ORDER
SELSTAR HEIR-LEIF,
                     Defendant.



       Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
26).   As explained by counsel, the parties need additional time to investigate the
restitution amount before entering a plea. The motion to continue is unopposed. Based
on the representations of counsel, the court finds the motion should be granted.
Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 26), is granted.

       2)      The defendant's plea hearing will be held before the undersigned magistrate
               judge on November 22, 2016 at 2:00 p.m.. The defendant is ordered to
               appear at this hearing.

       3)      For the reasons stated by counsel, the Court finds that the ends of justice
               served by continuing defendant's plea hearing outweigh the best interest of
               the defendant and the public in a speedy trial. Accordingly, the time
               between today's date and the district court judge's acceptance or rejection of
               the anticipated plea of guilty shall be excluded for speedy trial calculation
               purposes. 18 U.S.C. § 3161(h)(7).

       October 17, 2016.
                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
